   Case 1:07-cr-00412-CAP-GGB Document 926 Filed 08/24/11 Page 1 of 1




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

MARCO ANTONIO GONZALEZ-PULIDO,       CRIMINAL ACTION
                                     1:07-CR-412-CAP-GGB-12
          Movant,                     CIVIL ACTION
     v.                               NO. 1:10-CV-3939-CAP
UNITED STATES OF AMERICA,
          Respondent.

                              O R D E R

     After carefully considering the report and recommendation of

the magistrate judge [Doc. No. 922], there being no objections

thereto, the court receives it with approval and ADOPTS it as the

opinion and order of this court.

     SO ORDERED, this 24th day of August, 2011.



                                 /s/ Charles A. Pannell, Jr.
                                 CHARLES A. PANNELL, JR.
                                 United States District Judge
